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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                         Case No.: 10-80751-Civ-Dimitrouleas/Snow

  RALSTON S. BROWN,

         Plaintiff,
  v.

  COLLECTO, INC. D/B/A EOS CCA,

       Defendant.
  _________________________________________/

       PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO COMPEL
                    PLAINTIFF’S RULE 26 DISCLOSURES
                      AND MEMORANDUM OF LAW

         Plaintiff, Ralston S. Brown, files his Response to Defendant’s Motion to Compel

  Plaintiff’s Rule 26 Disclosures and Memorandum of Law (DE 11), and moves this Court

  to deny Defendant’s, COLLECTO, INC D/B/A EOS CCA’s, motion as moot, and, in

  support thereof, states as follows:

         Due to a clerical error, Plaintiff’s counsel inadvertently did not mail the

  disclosures to Defendant. Plaintiff has now served his disclosures. Plaintiff respectfully

  suggests the Court deny Defendant’s Motion to Dismiss as moot.


                                             Respectfully submitted,

                                             DONALD A. YARBROUGH, ESQ.
                                             Attorney for Plaintiff
                                             Post Office Box 11842
                                             Fort Lauderdale, Florida 33339
                                             Telephone: (954) 537-2000
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                                     donyarbrough@mindspring.com

                                     s/Donald A. Yarbrough
                                     Donald A. Yarbrough, Esq.
                                     Florida Bar No. 0158658
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         Plaintiff,
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  COLLECTO, INC. D/B/A EOS CCA,

        Defendant.
  _______________________________/

                             CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on October 15, 2010, I electronically filed the
  foregoing document with the Clerk of Court using CM/ECF. I also certify that the
  foregoing document is being served this day on all counsel of record or pro se parties
  identified on the attached Service List in the manner specified, either via transmission of
  Notices of Electronic Filing generated by CM/ECF or in some other authorized manner
  for those counsel or parties who are not authorized to receive electronically Notices of
  Electronic Filing.



                                                   s/Donald A. Yarbrough
                                                   Donald A. Yarbrough, Esq.


                                      SERVICE LIST

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